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             In the United States Court of Federal Claims
                             OFFICE OF SPECIAL MASTERS
                                  (Filed: March 27, 2017)
                                       No. 16-894V

* * * * * * * * * * * * *
SAM HOWARD,             *                                     UNPUBLISHED
                        *
         Petitioner,    *                                     Decision on Joint Stipulation;
                        *                                     Guillain-Barre Syndrome
v.                      *                                     (“GBS”); Tetanus-diphtheria-
                        *                                     acellular pertussis (“TDaP”)
SECRETARY OF HEALTH     *                                     Vaccine.
AND HUMAN SERVICES,     *
                        *
         Respondent.    *
                        *
* * * * * * * * * * * * *

Leah Durant, Law Offices of Leah V. Durant, PLLC, Washington, DC, for petitioner.
Mallori Openchowski, US Department of Justice, Washington, DC, for respondent.

                            DECISION ON JOINT STIPULATION1

Roth, Special Master:

       On July 27, 2016, Sam Howard [“Mr. Howard,” or “petitioner”] filed a petition for
compensation under the National Vaccine Injury Compensation Program.2 Petitioner alleges that
he developed Guillain-Barre Syndrome [“GBS”] as a result of receiving a tetanus-diphtheria-


1
  Because this unpublished decision contains a reasoned explanation for the action in this case, I
intend to post this decision on the United States Court of Federal Claims' website, in accordance
with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified
as amended at 44 U.S.C. § 3501 note (2012)). In accordance with Vaccine Rule 18(b), a party
has 14 days to identify and move to delete medical or other information, that satisfies the criteria
in 42 U.S.C. § 300aa-12(d)(4)(B). Further, consistent with the rule requirement, a motion for
redaction must include a proposed redacted decision. If, upon review, I agree that the identified
material fits within the requirements of that provision, I will delete such material from public
access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755.
Hereinafter, for ease of citation, all “§” references to the Vaccine Act will be to the pertinent
subparagraph of 42 U.S.C. § 300aa (2012).


                                                  1
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acellular pertussis [“TDaP”] vaccination on or about July 23, 2015. See Stipulation, filed March
27, 2017, at ¶¶ 1-4, ECF No. 16. Respondent denies that the TDaP immunization caused
petitioner’s injury. Stipulation at ¶ 6.

         Nevertheless, the parties have agreed to settle the case. On March 27, 2017, the parties
filed a joint stipulation agreeing to settle this case and describing the settlement terms.

Respondent agrees to issue the following payment:

           A lump sum of $132,718.94 in the form of a check payable to petitioner, Sam
           Howard. This amount represents compensation for all damages that would be
           available under § 300aa-15(a).

       I adopt the parties’ stipulation attached hereto, and award compensation in the amount
and on the terms set forth therein. The clerk of the court is directed to enter judgment in
accordance with this decision.3

IT IS SO ORDERED.

                              s/ Mindy Michaels Roth
                                 Mindy Michaels Roth
                                 Special Master




3
 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party filing a
notice renouncing the right to seek review.
                                                 2
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